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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

  DAVID W. GERRITY                     CASE NO.
                                       2:23−cv−09701−DSF−MAA
              Plaintiff(s),
        v.                             Order to Show Cause re
  LISA PLOWMAN, et al.                 Dismissal for Lack of
                                       Prosecution
             Defendant(s).




        The Federal Rules of Civil Procedure require a plaintiff to serve process
    on the defendants within 90 days of the filing of the complaint. Fed. R. Civ.
    P. 4(m). The Court may extend this deadline for good cause. Id. More than
    90 days have passed since the complaint in this case was filed, and Plaintiff
    has not filed a proof of service for at least one defendant. Therefore,
    Plaintiff is ordered to show cause no later than June 28, 2024 why the
    unserved defendant(s) should not be dismissed for failure to prosecute. The
    filing of proof(s) of service showing that the relevant defendant(s) was/were
    served within the 90-day period or a showing of good cause for extending
    the service period constitute adequate responses to this order.

      IT IS SO ORDERED.

  Date: June 14, 2024                       /s/ Dale S. Fischer
                                           Dale S. Fischer
                                           United States District Judge
